 

 

Case 3:20-cv-02416-MEM Document 19 Filed 10/13/21 Page 1of1

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

ALAN DAYTON,

Plaintiff : CIVIL ACTION NO. 3:20-2416

Vv. : (JUDGE MANNION)
EMPLOYERS MUTUAL
CASUALTY COMPANY,

Defendant

ORDER

For the reasons set forth in the Memorandum of this date, the IT IS

HEREBY ORDERED THAT Plaintiffs motion to remand (Doc. No. 9) is

DENIED.

el Malachy E. WMaunion
MALACHY E. MANNION

United States District Judge
Dated: October 13, 2021

20-2416-01

 
